          Case 24-04021         Doc 2 Filed 04/18/24 Entered 04/18/24 16:20:15                     Desc BK
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Form ntchrgbk

                                   UNITED STATES BANKRUPTCY COURT


Eastern District of Texas

Suite 300B
660 North Central Expressway
Plano, TX 75074

                                       Bankruptcy Proceeding No.: 24−04021
                                                    Chapter: 0
                                            Judge: Brenda T. Rhoades

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):

Social Security / Individual Taxpayer ID No.:

Employer Tax ID / Other nos.:


PLEASE TAKE NOTICE that a hearing will be held at

Hearing Link: https://bit.ly/3W4eGC0, Instructions at www.txeb.uscourts.gov

on 4/19/24 at 10:15 AM

to consider and act upon the following:

Status Conference Set (RE: related document(s)1 COMPLAINT: (72 (Injunctive Relief − other)): filed by Jeff
Carruth on behalf of KRS Fort Worth, LLC, West Wharton Hospital District against United States Department of
Health & Human Services, Centers for Medicare & Medicaid Services, through its secretary Xavier Becerra.
(Attachments: # 1 Exhibit) (Carruth, Jeff) Modified on 4/18/2024 (sd). filed by Plaintiff KRS Fort Worth, LLC,
Plaintiff West Wharton Hospital District).. Hearing scheduled for 4/19/2024 at 10:15 AM at Virtual Hearing Location
(TYL Apr 19). (jd)

Dated: 4/18/24

                                                            Jason K. McDonald
                                                            Clerk, U.S. Bankruptcy Court
